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 1                                                                      JUDGE THOMAS S. ZILLY
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 5
                                 UNITED STATES DISTRICT COURT
 6                              WESTERN DISTRICT OF WASHINGTON
                                          AT SEATTLE
 7

 8   UNITED STATES OF AMERICA,                      )       NO. CR 08-190 TSZ
                                                    )
 9                 Plaintiff,                       )
                                                    )       ORDER GRANTING
10                 vs.                              )       STIPULATED MOTION TO CONTINUE
                                                    )       TRIAL DATE AND EXTEND TIME FOR
11   DAVID HINOJOSA, and                            )       PRETRIAL MOTIONS
     KENNETH SOLBERG,                               )
12                                                  )
                   Defendants.                      )
13                                                  )
                                                    )
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15
            THE COURT having considered the stipulated motion of the parties to continue the
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     trial date and extend the due date of the pretrial motions, and the records and files herein, the
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     Court hereby makes the following findings:
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            1.     The Court finds that a failure to grant the continuances would deny counsel the
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     reasonable time necessary for effective preparation, taking into account the exercise of due
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     diligence, within the meaning of 18 U.S.C. § 3161(h)(8)(B)(ii).
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            2.     The Court further finds that the ends of justice will be served by ordering the
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     continuances in this case and that the continuances are necessary to ensure effective trial
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     preparation and that these factors outweigh the best interests of the public in a more speedy
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     trial, within the meaning of 18 U.S.C. § 3161(h)(8)(A).
25
            IT IS THEREFORE ORDERED that the trial date be continued from August 4, 2008,
26

     (PROPOSED) ORDER GRANTING STIPULATED MOTION                             FEDERAL PUBLIC DEFENDER
                                                                                    1601 Fifth Avenue, Suite 700
     TO CONTINUE TRIAL & EXTEND PTM’s DUE DATE
                                                                                     Seattle, Washington 98101
     (David Hinojosa; #08-190TSZ)                       1                                        (206) 553-1100
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 1   to October 6, 2008.
 2         IT IS FURTHER ORDERED that the due date for pretrial motions be extended from
 3   June 26, 2008, to September 18, 2008.
 4         FURTHERMORE, IT IS ORDERED that the period of time from the current trial date
 5   of August 4, 2008, up to and including the new proposed trial date of October 6, 2008, shall
 6   be excludable time pursuant to the Speedy Trial Act, 18 U.S.C. § 3161, et seq.
 7         DONE this 30th day of June, 2008.


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                                              Thomas S. Zilly
10                                            United States District Judge
11

12   Presented by:

13
     s/ Jennifer E. Wellman
14   WSBA # 29193
     Attorney for David Hinojosa
15   Federal Public Defender’s Office
16   1601 Fifth Avenue, Suite 700
     Seattle, WA 98101
17   Phone: (206) 553-1100
     Fax:      (206) 553-0120
18   jennifer_wellman@fd.org
19 s/ Bruce D. Erickson
   Attorney for Kenneth Solberg
20
   E-mail Approval
21
   s/ Bruce Miyake
22 Assistant United States Attorney
   E-Mail Approval
23
   s/ Bruce Erickson
24 Attorney for Kenneth Solberg
25 E-Mail Approval

26

     (PROPOSED) ORDER GRANTING STIPULATED MOTION                         FEDERAL PUBLIC DEFENDER
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